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                   IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF MONTANA
                            MISSOULA DIVISION


  JAMES C. GARNER,
                                                    CV 19-59-M-KLD
                        Plaintiff,

  vs.                                                ORDER

  USAA GENERAL INDEMNITY
  COMPANY, a Texas Corporation; and
  JANE/JOHN DOES A-Z,

                        Defendants.

        The parties have filed a Joint Stipulation for Dismissal with Prejudice. (Doc.

134). Accordingly,

        IT IS HEREBY ORDERED that this action is dismissed with prejudice, with

each party to bear their own attorneys’ fees and costs.

        DATED this 12th day of January, 2021.



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                                               Kathleen L. DeSoto
                                               United States Magistrate Judge
